      Case 2:18-bk-10458-BR                        Doc 3 Filed 01/16/18            Entered 01/16/18 11:11:13                   Desc Ch
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Information to identify the case:
Debtor 1              Sonya Marie Theriault                                              Social Security number or ITIN        xxx−xx−7870
                      First Name   Middle Name     Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                         EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Central District of California
                                                                                         Date case filed for chapter 7 1/16/18
Case number:          2:18−bk−10458−BR


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Sonya Marie Theriault

2.      All other names used in the aka Sonya M. Theriault, aka Sonya Marie
        last 8 years                Theriault−White, aka Sonya Theriault

3.     Address                               1855 Industrial Street #703
                                             Los Angeles, CA 90021

4.     Debtor's attorney                     Aidan Butler                                            Contact phone 213−388−5168
                                             3550 Wilshire Blvd Ste 1924                             Email ____________________
       Name and address                      Los Angeles, CA 90010

5.     Bankruptcy trustee                    Jason M Rund (TR)                                       Contact phone (310) 640−1200
                                             Sheridan & Rund                                         Email ____________________
       Name and address                      840 Apollo Street, Suite 351
                                             El Segundo, CA 90245
                                                                                                                                                 /
                                                                                                        For more information, see pages 2 and 3 >
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Debtor Sonya Marie Theriault                                                                                         Case number 2:18−bk−10458−BR


6. Bankruptcy clerk's office                      255 East Temple Street,                                          Hours Open: 9:00 AM − 4:00 PM
                                                  Los Angeles, CA 90012
    Documents in this case may be filed at this                                                                    Contact phone 855−460−9641
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                                 Dated: 1/16/18


7. Meeting of creditors                           February 21, 2018 at 08:00 AM                                    Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a later date.       915 Wilshire Blvd., 10th Floor,
    questioned under oath by the trustee and      If so, the date will be on the court docket.                     Meeting Room 2, Los Angeles,
    by creditors. In a joint case, both spouses
    must attend. Creditors may attend, but are                                                                     CA 90017
                                                  The trustee is designated to preside at the meeting of
    not required to do so.                        creditors. The case is covered by the chapter 7 blanket
                                                  bond on file with the court.


8. Presumption of abuse                           Insufficient information has been filed to date to permit the clerk to make any
                                                  determination concerning the presumption of abuse. If more complete information,
    If the presumption of abuse arises, you       when filed, shows that the presumption has arisen, creditors will be notified.
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                      Filing deadline: 4/23/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                  it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                  that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                  to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                  have any questions about your rights in this case.


12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                  distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                  the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                  exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
                                                                                                        For more information, see pages 1 and 3 >
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 13. Proof of Debtor                 The U.S. Trustee requires that individual debtors must provide to the trustee at the meeting of creditors an
     Identification (ID) and         original picture ID and proof of SSN. Failure to do so may result in the U.S. Trustee bringing a motion to dismiss
                                     the case. Permissible forms of ID include a valid state driver's license, government or state−issued picture ID,
     Proof of Social Security        student ID, military ID, U.S. Passport or legal resident alien card. Proof of SSN includes Social Security Card,
     Number(SSN)                     current W−2 form, pay stub, payment advice, IRS Form 1099, Social Security Administration Report, or other
                                     official document which indicates name and SSN.

 14. Failure to File a               IF THE DEBTOR HAS NOT FILED A STATEMENT AND/OR SCHEDULE(S) AND/OR OTHER REQUIRED
     Statement and/or                DOCUMENTS, the debtor must do so, or obtain an extension of time to do so, within 14 days of the petition filing
                                     date. Failure to comply with this requirement, or failure to appear at the initial section 341(a) meeting of creditors
     Schedule(s)                     and any continuance, may result in dismissal of the case, unless leave of court is first obtained. If the debtor's
                                     case has not already been dismissed, AND DEBTOR FAILS TO DO ONE OF THE FOLLOWING WITHIN 45
                                     DAYS AFTER THE PETITION DATE, subject to the provisions of Bankruptcy Code section 521(i)(4), the court
                                     WILL dismiss the case effective on the 46th day after the petition date without further notice: (1) file all
                                     documents required by Bankruptcy Code section 521(a)(1); or (2) file and serve a motion for an order extending
                                     the time to file the documents required by this section.

                                     SI EL DEUDOR NO HA PRESENTADO UNA DECLARACIÓN Y/O LISTA(S) DE ACREEDORES Y/U OTROS
                                     DOCUMENTOS REQUERIDOS, tendrá que hacerlo dentro de un plazo de 14 días a partir de la fecha de
                                     presentación de la petición o tendrá que obtener una extensión del plazo para hacerlo. Si no cumple usted este
                                     requisito, o si no comparece a la junta 341(a) inicial de acreedores o a cualquier aplazamiento, esto resultará en
                                     que se declare sin lugar el caso, a menos de que obtenga un permiso del tribunal. Si no se ha declarado sin
                                     lugar el caso del acreedor, Y EL ACREEDOR NO HACE UNA DE LAS SIGUIENTES COSAS DENTRO DE UN
                                     PLAZO DE 45 DÍAS A PARTIR DE LA FECHA DE LA PETICIÓN, de acuerdo con lo dispuesto en la sección
                                     521(i)(4) del Código de Quiebras, el juez DECLARARÁ el caso sin lugar a partir de el 46o día después de la
                                     fecha de presentación de petición sin más notificación: (1) registrar en actas todos los documentos que requiere
                                     la sección 521(a)(1) del Código de Quiebras; o (2) registrar y hacer entrega formal de una moción para pedir
                                     una orden que extienda el tiempo en que se pueden registrar en actas los documentos que requiere dicha
                                     sección.

 15. Bankruptcy Fraud and            Any questions or information relating to bankruptcy fraud or abuse should be addressed to the Fraud Complaint
     Abuse                           Coordinator, Office of the United States Trustee, 915 Wilshire Blvd., Suite 1850, Los Angeles, CA 90017.




                                                                                                        For more information, see pages 1 and 2 >
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